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                             EXHIBIT H
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                                                                           Docket No. 081513-334
                IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

  In re Divisional Patent Application of:  )
      David M. Krinsky et al.              ) Examiner: Kevin Kim
  based on U.S. Serial No. 09/755,173      ) Group Art Unit: 2634
  Filed: .July 16, 2003                    )
  For: SYSTEMS AND METHODS FOR ESTABLISHING)
       A DIAGNOSTIC TRANSMISSION MODE AND  )
        COMMUNICATING OVER THE SAME        )

                         INFORMATION DISCLOSURE STATEMENT

  Commissioner for Patents
  P.O. Box 1450
  Alexandria, VA 22313-1450
  Sir:
            In accordance with the duty of disclosure as set forth in 37 C.F.R. §1.56, Applicants
  hereby submit the following information in conformance with 37 C.F.R. §§ 1.97 and 1.98.
  Pursuant to 3 7 C.F .R. § 1.98, a copy of each of the documents was cited in a parent
  application.
           The documents are being submitted within three (3) months of the filing of this
  application or entry into the national stage of this application, or before the first Office Action
  on the merits, whichever is later, therefore no fee or certification is required under 37 C.F.R.
  § 1.97(b).
           It is requested that the accompanying PT0-1449 be considered and made of record in
  the above-identified application. To assist the Examiner, the documents are listed on the
  attached form PT0-1449. It is respectfully requested that an Examiner initial a copy of this
  form be returned to the undersigned.
           The Commissioner is hereby authorized to charge any fees connected with this filing
  which may be required now, or credit any overpayment to Deposit Account No             -   80.




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                                                                          Examiner Name                                       Kevin Kim
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   Initials.          No. 1                                                 Publication Date                    Name of Patentee or
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     Applicant's unique citation designation number (optional). 2 See Kinds Codes ofUSPTO Patent Documents at www.uspto.gov or MPEP
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          J
          a
          e.      (54)     Multlcan1er transmission with variable data rate
                   (57) A high speed communications system is pro-                     stream data transmission. This reduces hardware costs
          ~
          ,..     vided which uses a selectable, desirable portion of the              and complexity while still preserving compatibility with
                  total available bandwidth of a transmission channel. In a            applicable ADSL standards and providing a high speed
          ~
          ,..:    preferred embodiment.   the  invention is an ADSL com-               data link. The target data rate of the modem can be fur·
          a       patible modem which selects a sub-set of the available               ther enhanced to the point of achieving full protocol
          IS      dOINnstream DMT sub-channels based on an evaluation                  capability by increasing or upgrading the AFEs, and/or
          1       of such sub-channels by appropriate signal processing
                  circuitry. An analog front end (AFE) contains sub-band
                                                                                       the signal processing circuitry in order to increase the
                                                                                       number of processable transmitted dOINnstream sub·
          ~       filtering causes an upstream transceiver to use only this            channels.
                  selected number of available sub-channels for dOINn·

       ~                                                                  FIGURE6
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                                                                                                                             Control
                                                                                                                            an4
                                                                                                                            AppllcatiOtl
       (.)                                                                                                                  Interlace
                                                                                                                            AOC



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                  Descrlpti n

                  fiELD OF THE INVENTION

             5         The invention relates generally to an improved high-speed communications system which establishes a data link .
                  using only a selectabl portion of the total availabl bandwidth of a channel. The present invention has particular appli-
                  cability to systems which use rate adaptable techniques such as the discrete multi-tone modulat.ion (DMl) technique
                  and CAP for transmitting data in Digital Subscriber Lines and similar environments. By limiting the data throughput of
                  the link to some adjustable fraction of the total available data rate, the present invention significantly reduces hardware
             ro   costs and allows a downstream user to configure a data link whose performance is directly controllable by the procesS-
                  ing power available to such user. In this manner, the system is completely forward CO!ll>atible and.expandable in tunc·
                  tionality, and permits a user to increase throughput to the point of achieving full potential of the available channel
                  bandwidth.

             15   BACI(GROUND OF THE INVENTION

                      Remote access and retrieval of data and information are becoming more desirable and common iri both consumer
                 and business environments. As data and information transfer is becoming more and more voluminous and complex,
                 using traditional data links such as voice-band modems is too slow in speed. For example, the use of the Internet to
            20 locate and access information is increasing daily, but the retrieval of typical graphics, video, audio, and other COftlllex
                 data forms is generally unsatisfYingly slow using conventional voice-band modems. In fact. the slow rate of existing dial-
                 up analog modems frustrates users, and commerce and interaction using the Internet would have been even higher
                 were it not for the unacceptable delays asSociated with present day access technology. Trni ability to provide such
                 desired services as video on demand, television (including HDTV, video catalogs, remote CO-ROMs, high-speed LAN
            25 access, electronic library viewing, etc., are similarly impeded by the lack of high speed connections.
                      Since the alternatives to copper line technology have proven unsatisfactory, solutions to the high speed access
                 problem have been focused on il'll>roving the performance of voice band modems. Voice band modems operate at the
    ..           subscriber premises end over a 3 kHz voice band lines and transmit signals through the core switching network, the
                phone company network treats them exactly like voice signals. These modems presently transmit up to 33.6 kbps over
    -~
            30 a 2-wire telephone line, even though the practical speed only twenty years ago was 1~2 kbps. The improvement in vOice
                band modems over the past 20 years has resulted. from significant advances in algorithms. digital signal processing,
                 and semiconductor technology. Because such modems are limited to voice bandwidth (3.0 kHz); the rate is bound by.
                 the Shannon limit, around 30 kbps. A V.34 modem, for example, achieves 10 bits per Hertz of bandwidth, a figure that
                 approaches the theoretical Shannon limits. ·
            35        There is a considerable amount of bandwidth available in copper lines, however, that has gone unused by voice
                band modems, and this is why a proposal known as Asymmetric Digital Subscriber Une (ADSL) was suggested in the
                 industry as a high-speed protocol/connection alternative. The practical limits on data rate in conventional telephone line
                 lengths (of 24 gauge twisted pair) vary from 1.544 Mbpsfor an 18,000 foot connection. to 51.840 Mbps for a 1,000 foot
                connection. Since a large proportion of current telephone subscribers fall within the 18,000 foot coverage range, ADSL
            40 can make the current copper wire act like a much 'bigger pipe" for sending computer bits and digital information {like
                movies and TV channels). while still carrying the voice traffic. For example, an ADSL rriodem can carry information 200
                 times faster than the typical voice band modem used today.
                      ADSL is •asymmetric" in that more data goes downstream (to the subscriber} than upstream (back from the sub·
               ·scriber). The reason for this is a combination of cost, demand, and performance. For example, twisted pair wiring cou-
            45 piing increases with the frequency of the signal. If symmetric signals in many pairs are used within a cable, the data rate
                and line length become significantly limited by the coupling noise. Since the preponderance of target applications for
                digital subscriber services is asymmetric, asymmetric bit rate is not perceived to be a serious limitation at this time.
                Therefore, the ADSL standard proposes up to 6 Mbps for downstream, and up to 640 kbps for upstream. For example,
                video on demand, home shopping, Internet access, remote LAN access, multimedia access. and specialized PC serv-
            50 ices all feature high data rate demands downstream, to the subscriber, but relatively low data rates demands upstream.
                The principal advantage is that all of the high speed data operations take place In a frequency band above the voice
                band, leaving Plain Old Telephone Service (POTS) service independent and undisturbed, even if an AOSLmodem fails.
                ADSL further provides an economical solution for transmission of high bandwidth information over existing copper line
                infrastructures.
            ss       Specifically, the proposed standard tor ADSL divides the available transmis.sion bandwidth into two parts. At the
                lower 4 kHz band, ordinary (POTS) is provided. The bulk of the rest bandwidth in the range from 4 kHz to about 1 MHz
-    I
                is for data transmission In the downstream direction, which is defined to be from the exchange to the subscriber. The
               upstream control channel uses a 160kHz band in between. The signals in each channel can be eXtracted with an




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         appropriate band -pass fiber.
              A OMT implementation of ADSL uses the entire available 1 MHz range of a copper phone line. It merely splits the
         signal into 255 separate channels, and each 4 kHz channel can be made to provide a bit rate up to the best present day
         voice band (33.6 kbs) modems. This results essentially in overall performance which is equivalent to around two hun-
    5    dred V.34 modems used in parallel on the same line. Because each channel can be configured to a different bit rate
         according to the channel characteristics, it can be seen that DMT is inherently •rate-adaptive· and extremely flexible for
         interfacing with different subscriber equipment and line conditions.
              A number of problems arise. however, in attempting to implement a full scale ADSL transceiver cost-effectively.
              First, to achieve this high bit rate transmission over existing telephone subscriber loops, advanced analog front ericl
    10   (AFE) devices, complicated digital signal processing techniques, and high speed complex digital designs are required.
         As a resuh, this pushes current technology limits and imposes both high cost and power consumption. For example,
         AFE devices in modem applications provide the interface between analog wave forms and digital samples for digital
         hardware/software processing. In high speed modern technologies such as ADSL, AFE devices need to operate at a
         very high safl1)1ing rate and high accuracy. For example, the DMT technology has a spectrum of 1 MHz and requires
    15 sampling above 50 MHz if a sigma-delta analog-to-digital (ADC) method is used.. This thus requires the state-of-art
         ADC technology and imposes a high cost for end users.
              Second, the time domain signal in ADSUDMT transmissions is a summation of a large number of carriers modu-
       . rated by quadrature amplitude modulation (OAM). This typically results in a large peak-to-peak deviation. As a result,
         even though a high speed AFE is made possible, a large dynamic range and high resolution AFE is required at the
    20 same time to minimize quantization errors.                              ·               .
          · Third, in addition to the high sampling rate and resolution requirement for ADSL AFEs, the other hardware and soft- ·
         ware in AOSL environment also needs to operate at a much higher speed than current conventional modem counter-
         parts. For example, to irrplement the DMT technology in software, a custom and dedicated digital signal process (DSP) ·
         of a power of several hundred MIPS (millions instructions per second) is required to process many components such
    25 as error encoding and decoding, spectrum transforms, timing synchronization, etc. As with the AFE part of the system,
         this high speed requirement for the signal processing portion of ADSL also results in less flexible, high component
          costs.
               Fourth, recjuiring a communications device {such as a modem) to fully su,P ort the total throughput of a standard
          such as ADSL may be inefficient in some cases, since many prospeCtive users of high-speed data links may not need
    30    to use all the available bandwidth provided by such standards. It is generally more preferable therefore to permit users
          to throttle or scale the data throughput in a manner they can control, based on their particular application needs, hard·
          ware cost budget, etc. For example, a full-scale ADSL system may have the performance level of 200 times conven-
          tional V.34 modems. but it is apparent that even a performance improvement of 1o - 20 times than present day available
          analog modems would be sufficient for many consumer applications, such as Internet aocess and similar uses. Thus,
    35    unlike conven~ional analog modems, which are available in various speeds varying generally from 14.4 to .56 Kbps,
          there are no known ADSL modems which offer scalable performance levels to users.
               Fifth, in addition to the illl>lementation challenge, the T1 E1.4 ADSL standard does not specify the system interface
          and user model. Ahhough various high level interface to support T1 IE1, ·ATM. etc. have been described, system Inte-
          gration with high level protocols such as TCPIIP and interface with computer operating systems have not yet been
    •40   defined. As a result. there is uncertainty how existing and Mure modem-based applications can work with the AOSL
          technology. For exa"l)le, when users run an Internet application which sends and receives data to and from an Internet
          service provider (ISP), a mutually agreed protocol is required to set up a call and transfer data. Possible protocols avail-
          able at various levels include ATM (asynchronous transfer mode), TCPIIP. ISDN, and current modem AT commands.
          Either one of these or a possibly new protocol needs to be defined to facilitate the adoption of ADSL technology.
    45
          SUMMARY OF THE INVENTION

            An object of the present invention therefore is to provide a communications system which is fully corl'l'8tible with
       high speed, rate adaptable protocols such as are used with ADSL, but which system is nevertheless implementable
    so with simpler analog font end receiving/transmitting circuitry and is thus reduced in cost and complexity;         ·
            A further object of the present invention is to provide a communications system which is fully compatible with high
       speed, rate adaptable modulation protocols such as used with ADSL. but which system is nevertheless implementable
       with simpler digital signal processing circuitry and is thus reduced in cost and complexity;
            Another objective of the present invention is to provide a method for transmitting data within a tractional, desirable
    ss portion of available bandwidth in a channel by modulating only a limited number of desirable sub-channel data carriers.
       so that a high speed data link can be achieved that is faster, and has reduced computation and hardware demands;
           Yet a further objective of the present invention is to provide a communications system with smaller peak·to-peak
       deviation in the sub-channels signals, so as to reduce the dynamic range required for the front end ADC, and to mini-




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               mite quantization errors.
                    Another objective of the present invention is to provide a high speed communications system having a data
               throughput that is easily controllable and expandable, so that the performance range of such system can be configured
               to any fractional percentage of total bandwidth available in a transmission channel, up to and including full bandwidth
         5     use of the channel;
                    A related objective of the present invention is to provide a h igh speed communications system that is modular so
               that forward compatible and expandable functionality can be incorporated flexibly and with a minimum of effon on the
               part of a user of such system:                                          ·
                    Yet a further objective is to provide a system that is compatible with high speed protocols used in ADSL. but which
         10 is also easily adaptable to support preexisting high level data protocols, including those presently used for controlling
               high speed voice band modems;
                    A further object of the present invention Is to provide a high speed communications system that seH-calibrates its
              own performance level, based on the processing power available to such system;
                    Another objective of the present invention is to provide a high speed communications system that permits a user to
         ts configure the performance parameters of such system using conventional personal computer hardware, software and
              operating systems:
                   A further object of the P..esent invention is to provide an interface between a host operating system and a high
              speed communications system that provide forward compatible and expandable functionality;
                   An additional aim of the present invention is to provide an improved system for concurrent control of conventional
        20 voice data traffic on a POTS channel, and upstream/downstream communications on separate sub-channels;
                   These objects and others are accomplished by providing a communications system that permits a host processing
              device to receive selected data within a narrow bandwidth from an upstream transc:iever which can and normally trans·
              mits a large bandwidth analog data transmission signal through a connected channel. A channel interface circuit AFE
              samples the received analog signal to generate a digital signal. Only a limited portion of the bandwidth may be sampled,
        2s thus reducing front end complexity. A digital signal processing circuit then extracts the selected data from this limited
              digital signal, which is significantly easier to process than a full bandwidth digital signal. Feedback information is pro-
              vided back to fhe upstream transmitter which causes the upstream transmitter to transmit downstream data thereafter
              only using the limited bandwidth of the front end, and not the full bandwidth. This feedback information contains infor·
            ·mation about the channel that suggests to the upstream transmitter that the other bandw.idth in the channel is unusable.
        30    In this manner, the upstream transceiver is trained to accommodate the lower rate downstream transceiver In a manner
              that nevertheless pteserves protocol integrity.
 ;;                In a preferred embodiment, the large bandwidth analog data transmission signal is comprised of a number of DMT
              modulated sub-channels, and an anti- aliasing filter on the front end of the the downstream transceiver ensures that
              only a limited number of such sub-channels are processed by a DMT signal processing core. The feedback information
        35 consists of non-zero SNR information for the selected sub-channels, and a sub-channel blackout ·mask" to eliminate
              the potential use of other sub-channels. The feedback information is sent by way of a front end transmitting circuit which
              transmits an upstream data transmission using a second frequency range different from the downstream transmission.
:~
                   One implementation of the aforementioned high speed system is in a personal computer, so that the signal
             processing can be .acco!Tl>lished using a processor within such computer, which in a preferred embodiment is an X86
        40 compatible processor. Another implementation of the aforementioned high speed system uses a dedicated signal proc·
.,            essor for demodulating the selected sub-channels. This cuts down on processing overhead requirements for a host
. !
             processing system incorporating the system. In such impl~mentations the portion of the downstream data transmission
             to be processed for data extraction can be configured by a user of such systems, or alternatively, it can be dynamically
             determined based on an evaluation by the digital signal processing circuit of performance characteristics of different
        45 portions of the frequency spectrum within the bandwidth potential of the upstream transceiver.
                   In another variation, the data rate of a system such as described above can be increased by processing data from
             an additional second limited frequency bandwidth portion of the total available downstream bandwidth. In a preferred

. ;
             embodiment, this can be done by including a number of anti· aliasing filters in a modular bank as part of the analog front
              end section, each of which passes a different frequency bandwidth portion. By making the analog front end modular,
        so the data rate of the overall system can be scaled in a controllable and cost-effective fashion. At the same time, each
             analog front end portion can be operated at a slower sampling clock and smaller dynamic range. This results in a more
             relaxed speed requirement and smaller quantization noise at a given number of bits per sample.            ·
                   The present disclosure also includes an interface to an operating system, to facHitate controlling the high speed
             communications system when it is incorporated in a personal computer system. This intertace ensures that the operat·
        ss ing system treats such communications system essentially the same as other prior art voice band modems. and in a
            .preferred embodiment, Is a device driver for the Windows NT operating shell. Finally, the present disclosure also
             describes an applications program which permits a user of a personal computer to control the performance character·
             istics of the high speed communications system by setting certain system parameters when such system is incorpo·




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         rated in a personal computer system. This program includes an auto calibration routine for setting such system
         parameters. or alternatively a user of such program can tailor the settings subject to confirmation of the efficacy of such
         settings based on an evaluation of the processing power available to such user.                    · ·          ·
              Although the inventions are described below in a preferred embodiment implementing the ADSL standard, it will be
    s    apparent to those skilled in the art the present invention would be beneficially used in any high sp eel rate-adaptable
         applications.
              It should be noted that while some prior art devices also have limited mechanisms for achieving a reduction of nom-
         inal or peak transmission speed in a channel, they only activate or implement such mechanisms as a fallback response
         to a failure in the channel, or because of a transmission rate reduction in the upstream transceiver. Unlike the present
    10   invention. such prior art modems, during an initialization process. attempt to establish the highest post;ible transmission
         rate achievable by the channel and the upstream transciever. In other words, any rate reduction imposed by the down-
         stream modem is typically considered an unintended and undesirable side effect of bad channel characteristics, and
         not a desirable and intentional design target as set forth in the present invention. In addition, the data rate reduction in
         such modems is accomplished primarily by varying the number of bits per baud (hertz) at a fixed frequency, and nor by
    15   controlling the overall frequency spectrum of the downstream data transmission. Moreover, in such prior art systems,
         no effort is made to measure, identify or use an optimal portion of the usable bandwidth or set of transmission sub-
         channels. Instead, such prior art systems typically use whatever available bandwidth or sub-channels happen to be
         usable at that instant in time.
              Similarly, while a fixed 300 baud rate downstream modem can work with an upStream 33kbs rate mooem this
    20   arrangement is also unlike the present invention. This is because. again. the bandwidth reduction in such p(ior art
         device is so large that it is considered commercially unusable by today's standards. Furthermore, the smaller bandwidth
         modem is not compatible with, and does not support, the higher protocols of the higher bandwidth modem. which is also
         undesirable from an implementation standpoint. Stated another way, unlike the present invention, the lower end modem
         limitations of prior art system force the data link to be set up using a low level protocol that does not take advantage of
    25   the full capabirrties of more advanced protocols.             ·
              Finally, there is no mechanism for users of either of the prior art systems noted above to expand the functionality
         of such modems in a controlled, flexible, and modular manner.

         BRIEF QESCRIPTION OF THE QRAWINGS
    30
             Figure 1 is a pictorial depiction ofthe AOSLJDMT bandwidth allocation for upstream and downstream data in .a
             channel based on frequency division multiplexing (FDM) configuration.                                 ·
             Figure 1B shows the relationship between a sub -band filter and an analog to digital converter that can be used in
             an analog front end (AFE) of the present invention ;
    35       Figure 1C is a pictorial depiction of a SNR curve for a typical subscriber loop channel using sub-channel modula-
             tion;
             Figures 1D • 1G are mathematical modellings and charts that further explain the underlying physical premises of
             the present invention based on DMT ;
             Figure 2 is a block diagram of a general implementation of a communications system employing the present inven-
    40       tion, adapted for use in an AOSL environment ;
             Figure 3A is a block diagram of a dedicated hardware implementation of a communications system employing the
             present invention, also adapted for use in an ADSL environment;
             Figure 38 is a block diagram of a mixed hardware an.d software based implementation of a communications sys-
             tem employing the present invention, also adapted for use in an AOSL environment:
    45       Figure 4 is a block diagram depicting the general structure of the data pump device driver used in the mixed imple-
             mentation shown in Fig. 3;
             Figure 5 is a flowchart depicting the general operation of the control and apprtcation interface used in the mixed
             implementation shown in Fig. 3;
             Figure 6 is a block diagram of an iOlllementation of a communications system en..,loying the present invention.
    so       also adapted for use in an ADSL environment, in which it is depicted how a user can modularly expand throughput
             capability by adding additional AEE stages to process a greater percentage of the available bandwidth in the chan-
             nel.

         DETAILED DESCRIPTION OF THE INVENTION
    55
             While some of the concepts set forth immediately below are well-known, a brief explanation of ADSL technology is
         provided with reference to Figure 1 to facilitate an understanding of the present invention. As explained above, it is well-
         known in th art to use DMT to effectuate the ADSL standard. In contrast to most modulation schemes, such as AM/FM




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                        transmissions that use one carrier, DMT uses mu~iple carriers to transmit data bits. Specifically, T1Et.4 ADSL stand·
                        ards specify an up to 255 channels for downstream transmission from the central office to sl.bscribers and up to 31
                        channels for upstream transmission frorn subscribers to the central office. As shown in Figure 1, each carrier has a
                        bandwidth of 4.3125 kHz. The total bandwidth is 1.1 MHz for a total of 255 channels. In the upstream direction, a "pilot"
                5       tone in the approximate range of 69 kHz, is used for maintaining timing synchronization. A similar pilot tone is transmit-
                       ted in the downstream direction in the vicinity of 276 kHz.                                                        ·
                            Since upstream and downstream transmissions are over the same 2-pair twisted wire, they need to be separated
                       by either echo cancellation (EC} or frequency division multiplexing (FDM). Echo cancellation allows simultaneous trans-
                       missions in both directions but requires a complex echo canceler implementation. On the other hand, FDM uses two
                ro     different frequency bands for separate downstream and upstream transmissions. As shown in Figure 1, the upstream
                       transmission uses subchannels from channel number 6 to 31, and the downstream transmission uses subchannels
                       from channel number 41 to 255. While the remainder of the discussion below focuses on an system employing FDM, It
                       will be appreciated by those skilled in the art that the present invention is adaptable and can be used beneficially with
                       echo-cancellation approaches as well.
                t5       , As with most communication environments. the transmission bit rates for both upstream and downstream commu-
                       nications in ADSL are not fixed but instead are determined by the quality of the channel. In the present invention, a
                       number of well-known techniques can be used advantageously for setting up the initial data link. In general, these tech-
                       niques work as follows: during initiaHzation, the channel quality is measured and a certain data rate {typically a number
                       of bits) is assigned for each DMT subchannel; thereafter. a "hand-shaking" process is used to dynamically and adap-
                20     tively change the bit loadings {and energy levels). The latter is often necessary because (among other things) changes
                       may oocur in the qverall channel characteristics, changes in the target bit rate may be needed, or new bit distributions
                       in the sub-channels may be required because of degradations in one of the sub-channels.
                            The quality Of the sub-channel response can be measured by the received signal to noise (SNR) ratio. According
                       to the Shannon theorem, the upper limit of the number of bits per unit Hz that can be transmitted is log2(1 +SNR). There-
               25      fore, by· measuring the received SNR .at the receiver end, one can determine the number of bits allocated for each
                       subchannel modulation. The total data throughput race achieved by the system, therefore, is simply the sum of all the
                       data rates Of all the usable subchannels.
                            According to the T1 E1.4 ADSL standards •. data bits are gro~ed and processed every 250 JI.Sec. The number of
                       bits that can be processed over one such time frame is the summation of the bits allocated for each subcharnel deter-
               so      mined from the previous channel response measurement. For a given number of bits assigned to a certain subchannel,
                       quadrature amplitude modulation {QAM) is used to convert bits to a complex value, which is then modulated by the
                       subchannel carrier at the corresponding frequency.
                            The above is a merely a brief summary of the general operation of a typical DMT/ADSL communications system.
                       The general circuits used in prior art ADSL systems, the specifics of the biVenergy loading process for the sub-chan-
               35      nels. the bit fine tuning process, and the details of the modulation of the sl.b-channels, are well-known in the art. and
                       will not be discussed at length herein except where such structures or procedures have been modified in accordance
                       with the teachings herein.
                            The full downstream data throughput of a typical p rior art AOSL standard transceiver approaches 6 MbpS, which
                       is more than 200 times the speed of conventional analog modem technology. This requirement was imposed since a
    -·          40     large part of the initial motivation to implement ADSL was to achieve high speed multimedia communications and video
                       teleconferencing. Nevertheless, a large number of potential users do not want or need to have such wide bandwidth
                       capability. For example, many potential users of ADSL (or similar high speed loops), including many who are intending ·
    :...~
                     · to use such links primarily for Internet access, only need to achieve downstream transmission speeds that are In the
                       hundreds of kilob,its per second range. This data rate is in fact achievable using only a fraction of the available band-
                45     width of ADSL. By processing only a fraction of the available bandwidth of the ADSL standard, the present invention
                       permits a limited but extremely useful ADSL modem to be implemented with significantly less expense and cofll)lexity
                       than previously possible. At the same time, because the present invention has modular characteristics. the proposed
                       implementation of the present invention affords users an easy path to forward and upward expansion of the overall func-
                       tionality of their system.
               so           The principle behind this aspect of the present invention Is as follows: As shown in Fig. 18, if the transmission in
                       the channel is restricted to a smaller bandwidth by an anti-afiasing filter 80, according to the Nyquist sampling theorem,
                       the sampling rate of AFE devices (such as ADC 81) that perform analog to digital conversion can be significantly
                       reduced. Specifically, if the total downstream bandwidth is limited to some fractional total B Hz (in a preferred embodi·
                                                                     =
                       ment using DMT in an ADSL environment, B 20 DMT channels or about 86 kHz) as shown below. we can limit the
               55      Nyquist sampling rate to around 180kHz. This is achievable with AOCs having greatly sif11)1ified hardware and reduced
                       performance requirements, in contrast to the full ADSL bandwidth approach, which processes 200 DMT channels or
      .,               900 kHz in the case of full ADSL implementation .
                            The total accumulated bit race of an ADSL communications system using the present invention can be calculated
I      I


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          as follows. Suppose a total numberofksubchannels (out of a total of M possible) are to be sl.4)ported and each channel
          is allocated bk bits for transmission. the total accumulated bit rate (R) is: ·

                                                    R • ( I: 1o 1.k b ;) • 4 kHz (bits/sec)
     5
           where 4 kHz is the framing race defined by T1 E1.4 ADSL standards. If k=20 channels and the average number of bits
           per channel is 6, then total bit rate (R) is approximately 480 kbitslsec. It can be seen that this fractional use of the ADSL
           bandwidth nevertheless provides about 9 times the performance of a conventional analog 56.kbits/sec digital modem.
           The benefits of this approach of the present invention are apparent. The overall performance and cost of a high speed
       to communications system can be scaled anc:l controlled in direct relationship to the particular needs of particular users.
           In general, the data rate supportable by (and the relative cost of) any particular irrplementation ofthe present invention
           is generally determined by two factors: (1) the capacity of the AFE; and (2) the capacity of the hardware performing the
           DMT.                .
                 The capacity of an AFE is generally measured by the maximum sampling speed it can achieve: As explained
       t5 above, the sampling speed in turn determines the upper limit of the frequency band B (in kHz) that can be obtained. At
           the defined channel separation of 4.3125 kHz for ADSL. the total number of subchannels that can be supported is less
           than or equal to B/4.1325. A suitable. ADC can be selected. therefore. based on the particular data rate and cost
           requirements of any particular user.                                              ·                            .
                 The other factor that limi ts the number of subchannels (and achievable data rate) is the processing power available
    · 20   for DMT modulation and demodulation routines. For example, a variety of performance levels (achievable data rates)
           are possible with well-known dedicated signal processing hardware, such as digital signal processors, as discussed in
           more detail below with reference to Figure 2. Alternatively, as shown in Figure 3, if such routines are implemented pri·
           marily by software and run by a host CPU, the required processing power (MIPS) generally increases directly as func·
           tion of the number of subchannels that need to be processed. This is because. in general, most of the processings are
      25 done in serial, or a channel by channel basis. As discussed below in more detail, the preserit invention makes use of a
           "calibration" routine for estimating the total available processing power of a users computing system in order to set an
           upper limit of the total subchannels that can be supported.
                 Irrespective of the selection of the particu lar AFE or signal processing technique used, however, another useful
           (but not essential) aspect of the present invention is that the sub-channels with the largest signal to noise ratio (SNR)
      30 within the passband are selected for data transmission. In other words. in the preferred eni:>odiment of the present
           invention, those k subchannels within the passband that support the largest number of bits are used for processing. As
           seen in Fig. 1C. for exarrple, a standard two·are subscriber line typically has a SNR curve that exhibits extensive atten·
           uation with higher frequencies. It can be seen roughly in this figure that while there are more than 200 sub~channels .
           provided for downstream transmission in ADSL. it is typically the case that 50% of the maximum data rate can be
      35 accomplished using only a much smaller percentage (than 50%) of the sub-channels. This fact is especially useful in
          considering some of the shared{ multi-channel bandwidth errbodiments discussed further below.
                The present invention, therefore, permits an implementation for a high speed data communications system that
           makes use of the best portion of the channel, while still being upwardly compatible and forward expandable. By these
          terms. it is meant that a system constructed in accordance with the teachings herein is completely corrpabble with a
      40   fully implemented version ADSL DMT modem. Moreover, it will be apparent to those skilled in the art that appropriate
           modifications specific to the channel and data link protocols and standards can be made so that the present invention
          can be advantageously employed in non-ADSL environments as well. Upward compatibility and forward expendability
           refer to the fact that systems constructed with the present teachings can have data rates that are easily upgraded while
          still preserving and maintaining compatibility with existing standards. For example, lower end users desiring less band-
      45 width can achieve a satisfactory performance with a minimum of cost, and can then upgrade the performance levels of
          their systems at later time by suitable (and preferably modular) upgrades of the AFE and signal processing hard·
          ware/software.                                                                                                    ·
                A system constructed in accordance with the present teachings is completely compatible with the full ADSL stand·
          ard because Of the following two aspects: ACCQrding to the rate adaptation feature specified by the T1 E1.4 ADSL stand·
     so ards, the bit rate for each sub-channel is determined initially (and preferably dynamically on an ongoing basis) by the
          sub-channel SNR analysis. Specifically, an ADSL downstream receiver can inform an upstream ADSL transmitter about
          the quality of the transmission; the receiver can also decide the bit rate for eacn sub-channel. Therefore. a downstream.
          partial-channel bandwidth receiver· using the present invention can (based on the speed and passband of such
          receiver) supply an upstream, full-standard ADSL transmitter with information or control signals to effectuate a trans·
     55 mission only in selected sub-channels. In· particular, in a preferred embodiment, the upstream ADSL transmitter is pro-
          vided with SNR information for sub-channels outside the passband that is artificially contrived so as to suggest to the
          upstream transmitter that these sub-channels are not usable. In this manner, the downstream transmission is limited to
          a certain number of subchannels within the AFE and signal processing capabilities of th receiver. It can be seen, nev-




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         ertheless, that this sch me is completely transparent to the transmitter, thereby permitting a system built in accordance
         with the present teachings to be fully corrq.>atible with the ADSL standard. While not possible at this time within the
         ADSL standard, it is apparent that other high-speed data protocols may use a control signal, instead, to provide tor .
         express limiting and control of the identity of the sub-channels transmitting information.
    5        As the technology il'\1)roves for AFE devices and DMT implementation, the number of subchannels supported by a
         system using the present invention can increase. As a result. such systems can upgrade completely to a full T1 E1.4
         ADSL implementation using a single higher end modular replacement APE devices. or alternatively, a number of lower
         end modular AFE devices.

    10   GENERAL EMBODIMENT OF PRESENT INVENTION

             The basic structure of the present inve ntion is depicted generally in Fig. 2. In general, the present invention can be
        embodied in different combinations of hardware and software. The primary difference between these embodiments is
        the specific implementation of the DMT core. These specific embodiments are described in more detail below with ref·
    ts erence to Figs. 3A and 38.
             The structure and operation o1 ADSL transceivers is well-known in the art, and for that reason the present descr:ip~
        tion primarily details those aspects of such transceivers which are necessary to an understanding of the inventions
       herein. As seen in Fig. 2, a channel100 is made of a regular copper wire "loop", and each such loop may have differing
        electrical properties, transmission lengths (sizes}, varying attenuation characteristics, and a·nuni>er of impairments or
   20  interferences. Splitter 210, a conventional and well-known circuit, separates a DMT signal occupying more than 200
        sub-channels from a lower end 4 kHz POTS analog signal. The latter can be used for simultaneous voice or conven·
        tiona! analog modem. H¥f>rid circuit 220 is also well-known in the art, and consists primarily of conventional transform·
       ers and isolation circuitry used in a wide variety of high-speed devices interfacing to standard telephone lines. A ring
       detect logic circuit 290 can also be implemented using accepted techniques, to alert a Control Interface 295 to the exist·
   25 ence of a transmission signal originating from an upstream transceiver (not shown).
             The full bandwidth signal is either low passed or bandpass limited to a frequency width B by sUitable. well-known
       techniques as it passes through bandpass Filter and Analog/Digital Converter 280, so that only a fraction of the signal
       in the frequency domain is passed on to Buffer and DMT Receive Core 260. Again, the only important consideration for
       Subband Filter 280 is that it must constrain the bandwidth of the incoming signal to be !!:: B. where the sampling rate of .
   30 the Analog/Digital Converter is ~ 29. This can be accomplished by using well-known filter designs. By suitable selection
       of circuitry for Filter and ADC 280, the overall system cost and performance can be scaled accordingly. In a preferred
       embodiment, the signal passed through Riter and ADC 260 occupies a spectrum between approximately 200 and 400 ·
       kHz. This selection is based primarily on an expected average performance of a typical two-wire fine. It will be apparent
       to those skilled in the art that different bandpasS widths and regions may be more suitable or optimal for other kinds of
   35 data links, or other kirds of multi-carrier modulation schemes.                                                      ·
             Moreover, in some instances, while it is somewhat more expensive to implement. an adaptive or tunable filter may
       be substituted, such that the target frequencies of the passband are adjustable uniquely for each new data link. In such
       cases, the bandpass can be conf~gurecl to coincide with the sub-channels having the highest achievable SNR, including
       the subcha.nnels that must be supported for protocol or other system overhead reasons. Also, in some applications, the
   40  analog-to-digital conversion may be perlormed by a digital signal processor, or by .the host computer and therefore, the
       sampling rate can be dynamically controlled and matched to the bandpass target frequency and frequency breadth.
       This feature, in turn, would assist dynamic scaling of the data throughput based on system computing power and over·
       head requirements.
        · Furthermore, in this preferred embodiment, using a multi-carrier approach implementation for ADSL a pilot tone at
   45 276 kHz must be allowed within the passband. It is apparent that other protocols may require similar pilot tones, and
       the design of comparable filters to achieve the functionality of Filter and ADC 280 is well within the ordinary. skill of one
       in the art.                                                                                                           ··
            DMT Receiver Core 260 is generally responsible for monitoring and measuring the SNR o1 the sub-channels falling
       within the frequency range passed by FILTER and ADC 280, and for extracting the original data stream from the numer·
   so ous sub-carriers. In a preferred embodiment, Control Interface 295 receives system configuration information from a
       host 298. This information may contain such parameters as target throughput rare R, target error rate, target center fre·
       quencies F for FILTER and ADC 280, target frequency width B. etc. By evaluating the SNR and bit capacities of the sub·
       channels computed by DMT Receiver Core 260, and taking into consideration the target data rate R, Control Interface
       295 can select a nurrtler k o1 sub-channels up to and including the total available number M of sub-channels to carry
   55 the data stream from the upstream transmitter (not shown). The number of sub-channels that can be used for carrying
       data Is directly related to the bandpass frequency Bas described above. In a preferred embodiment. M = 200+ (ADSL)
       and Control Interface 295 will usually configure k = 20.
            For f!Nery sub-channel other than the selected k sub-channels, a -mask" or blackout control/feedback signal is gen·
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              erated and transmitted by DMT Tx Core 250, Buffer 260 and DAC 230 to the upstream transceiver: This ensures that
           . any subsequent data transmissions by the upstream transceiver only use the selected k sub-channels. This feedback
              information is provided, therefore, irrespective of the transmitting Capacity of the upstream transceiVer, and even during
              times when the channel100 is capable of supporting more thank sub-channels. In this manner. the present system is
     5        perceived by Up$tream transceiver to be compatible with protocols and performance characteristics of the Up$tream
              transceiver, because the upstream transmitter receives feedback information indicating merely that the two systems are
              connected through a channel with substantial signal attenuation characteristics for data signals outside the k sub-chan·
              nels. Based on the inherent rate adaptiveness of ADSL and other similar protocols, the upstream transceiver will auto·
              matically train itself to use orily the k sub-channels predetermined by the downstream transceiver. It should be noted
      10      that the DAC 230 and Buffer 240 in the front end transmitting circuit preferably transmit any upstream data transmis·
              siohs using a second frequency bandwidth different from that of the downstream data transmiss.ion. However, this is not
              necessary in systems using echo-cancellation. Furthermore, in ADSL applications, the size of this bandwidth is consid·
              erably smaller, and uses only L sub-channels, where L < M. In other xOSL applications, L may be on the same order or
              larger than M..
      15           Again, while the ADSL standard fixes the data error rate to be 10 ·7• it is conceivable that other applications of the
              present invention may tolerate a reduced error rate. For example, if maximum data throughput is required (i.e., the mar·
              gin is less constrained) then the largest bit capacity sub·channels within B can be selected. Alternatively, if the system
              is error-performance driven and has more relaxed throughput requirements, than the 20 slbchannels with the best mar·
             gin are selected. A suitable combination of sub-channels can be selected by one skilled in the art based on the partie·
     20       ular system requirements which may vary from application to application. Moreover, Controller Interface 295 may
              optimize the desired sub-channel mix dynamically depending on the type of data transmitted in channel100. For exam·
             pie, streaming audio or video, or pictorial graphics, may require less integrity and error performance than other kinds of
             data used by.n applications programs running on host 298.·The specifics of the structure, operations and techniques
             used by Controller Interface 295 are not constrained by any requirements of the present invention, and can be imple·
     25      mented in various ways well·known to those seed in the art.
                   The operation of the remainder of the Circuitry shown In Fig. 2 is also relatively straightforward and not unlike a typ.
             ical multi-carrier modulation system. Control Interface 295 ensures that OMT Transmit Core 250 performs bit and
              energy loading only for those sub-carriers necessary to effectuate a selected host throughput rate/error rate combina·
             tion. As with the circuitry used for Filter ADC 280, the circuitry for performing the functions of DAC 230 can be imple·
     30      mented in programmable form to allow for greater flexibility.                                            ·
                   Finally, whne not presently supported in ADSL protocols, it is nevertheless possible that the filter in block 280 can
             be eliminated entirely in some applications when the sub-channel or downstream transmission frequencies can be con·
             figured through appropriate handshaking or similar procedures. In other words. if the upstream transmitter can be con·
             figured to transmit using only a portion of the bandwidth available in the channel, the advantages of the present
     35      invention can still be realized, because the ADC portion of block 280 can still be relatively less COJllllex, since it will be
             processing at a much slower sampling rate than that required for a full spectrum implementation. Moreover, such an
             Implementation would also yield the same commensurate savings in the OMT processing core, and reduced quantiza·
             tion errors.                                                            ·
                   Some special features of the present inVention include the fact that:
     .40
                (Q unlike hardware architectures implementing a full T1 E1 . 4 ADSL standard, the present invention uses a filter in
                the front end. As mentioned earlier, the use of this filter is to allow low speed sampling by the ADC. Hsuitable hand·
                shaking between the upstream and downstream·transcievers can be effectuated to generate a reduced downt·
                stream transmission, the tater can be eliminated.
     45         (iij standard ring detection logic is incorporated to support existing modem features;
                (iij DMT Rx core 260 is basically implemented the same way as specified by T1 E1.4, but with some important dif·
                ferences, specifically:

                     [a] due to subband filtering and lower speed sampling, the frequency channels at the output of FFT (not shown)
     5(}             in the OMT Ax Core have a frequency shift
                     [b] Since not all 256 subchannels are necessarily supported by the DMT Rx Core 260, actual FFT implemen·
                     tation can be smaller, simpler and more cost-effective;

                (iv) Control logic 295 permits the system to behave essentially like a conventional analog modem, and is used to
     ss         support necessary setl.4l tasks such as dialing and handshaking;
                (v) The use of limited bandwidth from the downstream channel reduces the need for echo-cancellation circuitry,
                because there is less need for overlap between the upstream and downstream transmissions, and this further
                reduces-system complexity and cost;




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                 (vi) Because a smaller portion of the spectrum is processed by the present invention, the peak-to-peak deviation of
                 the downstream signal is reduced, and this helps to minimize quantization errors;

             DEDICATED HARDWARE BASED EMBODIMENT
       5
                   Figure 3A illustrates an embodiment of the present invention that can beg enerally described as a dedicated hard·
              ware Implementation. For the present discussion of Fig. 3A, it can be assumed that those circuits having like numbered
              references are the same and/or perform the same function as their counterpart in Fig. 2. For exartl>le, unless otherwise
              indicated, there is no material difference between Splitter 210 (Fig. 2) and Splitter 310 (Fig. 3A).             ·
       to          In this embodiment. the DMT sub-channel modulation core is implemented completely in dedicated processing
              hardware. For thin appliction, DMT Receiver Core 260 typically includes a digital signal processor (DSP) (not shown)
              and including on-board program ROM (or other suitable memory) for storing executable microcode routines for pertorm·
              ing bit, energy and SNR measurements of the carriers in the sub-channels. In such an embodiment, due to the power
            · of the DSP. there is typically no need for processing assistance from a user's host processor 398. This embodiment
       t5     therefore may be advantageously employed where hOst processing power limitations are a consideration.
                   A user of a system shown in Fig. 3A can expand the functionality [I.e., data throughput rate and modem features)
              of such system by upgrading the DMT Receiver Core 260, and where necessary, the AFE 280 as well. The system of
              Fig. 3A can be incorporated on a typical printed circuit board. By mounting or packaging the circuits used in such blocks
              in an accessible fashion, they can be replaced or supplemented much in the same way present users of personal com·
       20     puters can upgrade their motherboards to include additional DRAM. One practical aHernative, for example, would be to
              have multiple available slots to accommodate new subband pass filters for passing a greater portion of the downstream
              transmission to be processed by the DMT core logic. Other practical and simple variations. of this approach will be
              apparent to those skilled in the art.

       25    PARTIAL SOFTWARE BASED EMBODIMENT

                   In the above dedicated hardware embodiment, the overall speed (data throughput) can be maximized but with less
             flexibility for upgrades. This is because upgrades to such a system must take the form of hardware replacements, which
              can be more costly and difficult for the user to incorporate. On the other hand, as depicted in Fig. 38, a number of impor·
       30    tant functions of a communications system can be completely implemented in software, in an analogous fashion to what
              is commonly described in the art as a "software· modem. In this case, the overall speed of the system depends on the
              user's processor power available at host 398, and only the AFE portion need be implemented in hardware. ·
                   The primary differences between the embodiments of Fig. 3A and 38 are the following: (1) implementation of DMT
              modulation: (2) implementation of the control and handshaking functions: and {3) implementation of the control inter·
       35    .face. As seen in Figures 39 and 4, DMT Receive Core 460 and DMT Transmit Core 450 are implemerlted in a data
              pump device driver by the host system 398. In a preferred embodiment, host system 398 includes some form of multi·
              purpose microprocessor (such as an x86 type processor) running a suitable operating system (such as Windows by
              Microsoft), and is capable of executing suitable low level drivers for the DMT modulation (Fig. 4), as well as high level
              application software for implementing Control Interface 500 (Fig. 5). Host processor system 398 communicates 011er a
       40     standard bus interface 385 (i.e., a PCI bus) to Front End circuitry 396 for implementing a high speed modem. As with
             the circuitry in conventional analog modems, this circuitry of the present invention can be effectively incorporated on a
              PC motherboard (i.e., Bus Interface 385 and Front End Circuitry 396 can be merged so that they are essentially part of
              host system 398) or on a separate printed circuit board , or as a stand-alone unit physically separated from host 398.
             While this approach may not provide as much throughput performance, it has the advantage of being less expensive
       45    than the pure hardware approach of Fig. 2, and much easier to upgrade.
                   In the "software" modem implementation of Fig. 3 using a typical PC running Windows, the DMT Tx core 450, Rx
             Core 460 and Control/Handshaking logic are i"1)1emented as a Windows Data Purtl> Device Driver 400, which consist
             of DMT routines, associated control and handshaking codes, and an interface to kernel 480.
                   A more detailed characterization of a portion of host processing system 398 is depicted in Fig. 4, which illustrates
       so    a preferred embodiment of a device driver 400 as it would be constituted for a computer operating system shell 480. In
             the present embodiment, Microsoft Windows NT is considered, but it is understood that other comparable environments
             may be used, including UNIX, Windows 95, etc. As is well-known, operating system 480 is responsible for supervising
             and controlling the operation of processing system 398 and all of its associated peripheral devices. Operating system
             480 also includes various interactive control and graphical application interfaces (Rg. 5) for permitting a user of
       55    processing system 398 to run various applications programs, and to set up, control, configure, monitor and utilize
             peripheral devices such as disk drives. printers, monitors, modems and the like.                      ·
                   To assist operating system 480 to interact and control such peripheral devices, it is also well-known to use device
             drivers, which are essentially low-level hardware routines executed by a host processor and operating system. A device



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             driver is a memory image file or executable file that contains all the code necessary to instruct a host processor to inter·
          . face and drive a particular device within a computing system. Device driver 400 acts as an interface between an oper-
             ating system 480 (in this case, Microsoft Windows NT) and hardware 396. In this case. for xample, device driver 400
             supports hardware 396 (see Fig. 38), which is embodied in a typical printed circuit board (or external device). The
      5     teachings herein therefore provide for a new device driver that in combination with hardware 396 operates as a "soft-
            ware· modem. In this manner, operating system 480 classifies this combination as an ADSL rriodem, or in other words,
            another typical personal computer peripheral device, analogous to conventional voice-band modems.
                    GEinerally speaking, device driver 400 works as follows: a user of processing system 398 desiring to .establish a
            data link to a remote site for transmittingfreceiving data initiates such link through an application program (Fig. 5). Oper·
       to ating system 480 (Fig. 4) interprets and services this request by passing control of this task to device driver 400, which
            firS1 generates appropriate instructions for a Device Initialization 440. In a preferred embodiment. Modem card 396 is
             initialized through Bus Interface 41 0. using conventional voice band modem control commands, so that the present
            invention is COfll>atible with preexisting applications programs written for controlling modems using operating system
            480. Similarly, therefore, control and data signals are interpreted and transmitted by operating system 480 to a Serial
       ts Port Interface 475 so that conventional modem dialing instructions and handshaking signals can be imparted to Modem
            Card 396 to establish a link through channel 100 to an upstream conventional AOSL transciever (not shown). As
             explained aboVe,. after suitable handshaking protocols have been completed, the upstream fully compatible ADSL
            transceiver will begin transmitting data on all available M usable sub-channels. This downstream data is fHtered by FIL-
            TERIADC 380 and at this time, information for only N sub-channels (N<=M) is temporarily held in Buffer 370. At or
      20 before this same time, an Interrupt is generated by bus interface 385 and passed through device driver bus interface
            410 to alert Interrupt Service Router 415 to the existence of dcwmstream data requiring processing. Thereafter, DMT
             Receive Core 460 begins processing the downstream data stream in response to control information from ISR 415. A
            demu~iplexer 465 extracts and correlates the data in the various sub-channels before passing it on to Serial Port Inter-
            face 470, and back to Operating System 480. In this manner, Device Driver 400 coordinates with Modem card 396 to
      25    effectuate a sofware modem whose performance is directly correlated to the computing power of a processor contained
            within the host processing device.
                   As mentioned earlier, Device Driver 400 also contains control information for configuring the number a~ selection
            of sli>-channels to be used in the particular data link established through channel 100 with the upstream transciever
            during an initialization process. As also mentioned above, this control information may be self-determined by a user of
      30    hoS1 processing syS1em 398, or alternatively, automatically sensed and monitored by such processing system, based
            on a computing performance rating for such system determined in a calibration routine. In either event, during the ini-
            tialization process (and at all times subsequent) the upstream transceiver is induced to use such sub-channels only for
            the ensuing data transmission. This is accomplished by transmitting SNR information that is interpreted by the
            upstream transceiver as zero for all but K s; N of the sub-channels of the driver selection. This data is passed under con-
      35 trol of Operating System 480 through Serial Port 475, Framing control 455 and DMT Transmit Core 450 before being
            sent out to Modem Card 396 and channel100.
                   It is understood, of course, that ADSL Modem 396 can also respond to a request from a remote modem for initiating
            the data link. The process for initializing the link, nevertheless, is essentially the same as that described above. Device
            driver 400 can also contain control logic for supporting typical dial-up mo::lem operations and control codes from con·
    · 40 ventional modem application programs typically implemented in voice-band modems, such as setting up Origi-
            nate/Answer modes, monitoring call progress, performing modem diagnoS1ics, configuring receive/transmit buffer sizes,
            supporting facsimile transmissions, as 'well as performing enhanced error control, data co!T'f)ression and flow control
           between Modem Card 396 and Operating System 480. Device Driver 400 can also support other conventional "always-
           on" data link connections as desired, such as may be found in typical ethernet network connections, and other dedi·
     45 cated applications.
                  Given the teachings of the present invention, the general design of the abOve Data Pump Device Driver 400 is a
           routine task well within the abilities of one skilled in the art. The specifics of such implementation are not critical or
           essential to the present inventions, and will vary from application to application according to system designer require·
           ments; so they are not included here. Again, while this embodiment of the present invention is set out in the context of
     so a PC based host processor running Windows, it will be apparent to those skilled in the art that above desCription is
           merely an exemplary il1l'>lementation. The referenced DMT routines, associated control and handshaking codes can be
           employed in numerous host processing/operating system environments, and in a variety of different coding organiza·
           tions (high level or low level processing forms) well-known in the
                  In the preferred embodiment implemented using a standard PC running Windows, ControVApplication interface
     ss 500 includes Win32 codes which provide standard modem utility functions and interface with Data Pump Device Driver
           400. In Fig. 5, a flowchart of the operation of the Control/Application Interface 500 can be seen., which interface is dis·
          cussed in more detail below.                                  ·
                  Anoth r particularly beneficial aspect of the embodiment of Fig. 38 is the provision of a self-determining "perform·




                                                                       11
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           ance" or calibration rating that can be used to determine an optimal or maximum data throughput rate. In other words,
           the system of Fig. 38 a:ln automatically and adaptively configure a host system 398 to a particular throughput rate
        . based on an evaluation of the availabl computing pc;wer. In a preferred embodiment, the performance rating is deter·
           mined based on a calibration rouune executed by Data Pump Device Driver 400. This routine sets a timer, and counts
     s how many DMT frames can be processed within the given time: this gives a relative figure of merit for the particular host
          system in question. For each sub-channel to be added, one DMT frame needs to be processed within a small fraction
          of 250 ~s. Therefore, by incrementally increasing the sub·channel count, the overall effect on total system processing
          overhead can be determined. ControVApplication Interface 500 provides the user with control to set a threshold of avail·
          able host power for implementing the high speed link. Based on this threshold of available power (which can be nomi·
     10   nally set to 20%) the number of subchannels that can be supported can be gleaned very quickly.
               In view of current technology, when DMT processing is implemented in software, the host processing power is more
          iikely to be the limiting factor than the frequency band of the subband filter 80 in Figure 1B. Nevertheless. because host
         processors {and especially microprocessors) are evolving in performance at a fairly rapid rare, the present invention
          affords users an opportunity to realize a high speed data link with performance that is controllable, and which improves
     t6 whenever there is an ~rade in the host processing system. Since many typical present day personal computer sys·
          terns have easily accessible and replaceable host processors, users of the present invention can easily and flexibly
          expand and enhance the throughput and functionality of an ADSL modem.
               An example of the flow chart for an ADSL mo dem application/control program 500 designed in accordance with
         the present teachings is shown in Fig. 5. Wrth the teachings herein, a user of host processing system 398 can. tor the
    20 first time, dynamically control a forward C011'1Plitible and expandable modem. such as an ADSL modem. using modem·
         control applications software that is analogous to that only previously available for voice band modems. In a preferred
          embodiment, ADSL Modem Card 396 is automatically detected by Operating System 480 and set up by initialization
         routine 505 by Modem Device Driver 400. A separate detection routine 510 determines whether or not ADSL Modem
         Card 396 has been upgraded with an additional AFE (as described generally with reference to Figure 6 below), or alter·
    25 natively whether a processor. used in a host system has changed. The purpose of this step is primarily to determine
         whether entries in a Device Parameters Table 560 need to be updated because of changes in CO!ll>uting power, front
          end capabilities or other parameters that may necessitate a modification of the data throughput characterization of the
         overall system when used in a communications mode.                                      ·
               A calibration routine 520 is then executed to determine the nominal setup parameters for the overaH system in the
    ao manner described earlier. The retorts from this operation are stored in Device Paramater Table 560 where they then
         become accessible to vanous application programs that may make use of ADSL Modem Card 396 and Device Driver
         400. The information stored in table 560 can include any or all of the following (a) measurements of the computing
         power available to the host processor: (b) measurements of the number of frames processable by the system within a
        particular time period; {c) estimations of the expected loading on the processing system based on demands of other
    35 ·applications programs and peripheral devices; (d) minimum and maximum data throughput estimations and/or targets; ·
         (e) data identifying the type of host processor; (f) data identifying the number and type of AFEs in ADSL Modem card
         396: (g) estimations andfor target system loading rates available for a datalink (i.e., maximum available processing time
         to be used by the system during data transmission): {h) data transmit and receive buffer sizes; ( ~ intern..pt or similar
                                           m
         priority data for the modem card; estimations and/or target system sub-channel utilization: (k) estimations and/or tar·
    40   get system sub-channel bit capacity information; etc. It will be apparent to skilled artisans that the abOve are just exam·
        pies of the types of information that may be pertinent to the performance of a high speed communications system, and
         that other parameters may be considered depending on the environment. application, etc. in which the present inven·
         tion Is used.                             ·
               After performing Auto calibration routine 520, the results of the same are presented to the user for acceptance and
    45 verification at step 525. At this point, the user can accept the predetermined configuration data at step S26 (i.e., such
        as proposed maximum and minimum throughput rates. loading rates. etc.) and this would otherwise invoke an end of
        modem setup routine 590. Should the user not want. to accept the recommended parameters, a Manual Configuration
        routine 530 is executed. At this juncture, various system performance data can be presented to the user for review,
        along with a list of modifiable system options 532. If for example, the user elects to increase the desired throughput rate,
    so a Verification routine 540 is then executed to determine whether such rate is reasonably sustainable within .the other
        parameters of the system. If the new proposed configuration data Is otherwise acceptable, then the Device Parameter
        Table 560 is updated, and the setup routine again ends. Otherwise, the user is alerted by a Notification/Suggestion rou·
        tine 550, which points out the failure of the proposed configuration, and, if possible, makes suggestions to the user for
        modifying the system options 532 so that overall compliance can be achieved within the performance capability of the
    ss host processing system. The program then loops back to Acceptance routine 525. and thereafter the process is
        repeated untfl an acceptable configuration has been achieved, and any changes have been incorporated into Device
        Parameter Table 560.
              While some of the operation~! steps   above     are described as implemented solely by Operating system 480 and




                                                                   12
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          Device Driver 400, it is understood that such operations occur. under direction of modem applications program 500, or
          in some cases. based on initialization routines executed by the host proc~ssirig ·system. Moreover. to simplify the pres·
          entation of the present invention, only some ot the features that may be irrplemented are described aboVe. and many
          other well-known operational steps normally associated with setting up or monitoring modems are omitted.
    5          As with the design of the above Data Pump Device Driver 400, the general design of the ControVAjJplication Inter·
          face 500 required to accomplish the above functions is a routine task well within the abilities of one skilled in the art
          given the teachings herein. The specifics of such irrplementation are not critical or essential to the present inventions,
          and will vary from application to application according to system designer requirements; so they are not included here.
          Again, while this embodiment of the present invention is set out in the context of a PC based host processor running
     ro   Windows, it will be apparent to those skilled in the art that above description is merely an exemplary implementation.
          The referenced ControVApplication Interface can be employed in numerous host processing/operating system environ-
          ments, and in a variety of different coding organizations (high level or low level processing forms} well-known in the art.

          MULTIPLE AFE AND LOWER SAMPLING SPEED EMBODIMENT
     15
               Figure 6 illustrates an exarrple of the present invention wherein a user can achieve significantly increaSed data
          througt'4lut using multiple low cost. low sampling speed AFEs. generaUy designated 680A, 6808, 680C, etc. N.
          described above. these AFEs may be in separate. modular form and configured in a bank form so that they can be
          incorporated conveniently on a printed circuit board (or similar mounting) or integrated in a single IC chip. Each AFE
    20    can be implemented in a fixed hardware configuration, or irdividually programmed/controlled to pass a certain portion
          of the d()Wnstream data transmission. Assuming suitable processing power is available for DMT modulation/demodula·
          tion (either through a dedicated or software implementation as described above in connection with Figs. 3A ard 38} a
          user of such system can achieve substantially expanded functionality by upgrades having performance characteristics .
          and costs of their choice.
    25
          UNDERLYING THEORY OF PRESENT INVENTION FOR ADSUDMT APPLICATIONS

               A discussion of the underlying theory supporting the premise of the present invention now follows. In particular, this
          section shows the mathematical foundation For the use ot multiple low speed AFE's to sample a full bandwidth
    30    ADSUDMT signal. It will be apparent to those skilled in the art, after reading this discusSion, that the present inventions
          can be advantageously used in a number of rate adaptable communications environments, including CAP i!11llementa·
          tions of ADSL

          DMT Transmitter
    35
              To simplify the present discussion. only a subset of the DMT transmitter is considered, as shown in Figs 1D and
          1E. The combined model that includes the channel response and the DMT receiver is shown below, where only one
          branch of band-pass mtering and sampling is shown for simplicity. To further simplify, the chamel response and the
          SFIR are combined together.                                                             ·
    40        In this subsection. we analyze the signal over one band pass filtering process. The result shows that the DMT slg·
          nals within the band pass can be recovered with the same use ot impulse response shortening technique. With use of
          multiple AFE's that cover different frequency bands, all DMT subchannels can be recovered.

          IFFT
    45
             In an ADSL environment as shown in Fig. 1D. N (N=512) frequency domain variables are transforniect into the time
          domain by IFFT block 60                                                  ·

                                                                N-1
    50                                                   yn =   L      X nej2r.ln IN
                                                                /..0




    55




                                                                        13
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                   Cyclic Prefix .

                   c time domain variables at the end are added to the prefix of the sequence as shown in Fig. 1D by block 70
                   {z n}={Z -c•Z·ca1• ' ' ',z.,,Zo,Z 1•' ' ',z N·1}={y N·C' • ' • ,y N-1;y0,' • • ,y N·1}                  .
             5
                   AFE/DAC

                   Discrete time domain sequence are converted by AFE 75 to the continuous time domain waveform as follows:

             10
                                                                    z(t) =   E        ZnPrx (t-nT c),
                                                                             n•·oo


             ts    where Prx (t) is the transmitter pulse of the AFEIDAC used, and Tc is the transmitter DAC clock period and equal to

                                                                             T       =250jlsec
                                                                                 c       N+C


                   according to the DMT ADSL specifications.

                   Channel

            · 25   With reference now to Fig. 1E, if the channel impulse response is hc(t), we have


                                                                    u(t) =   I:        z,.pRX (t-nT c)
                                                                             n•-co
             30


                   where p Rx(t)=P rx(t)®hc(t).

                   Bandpass Filtering
             35
                   If the bandpass filter 80 has an impulse response of

                                                                                      ""
                                                            hspF(t), v(t) ...         E       ZnPBPF (t-nT c)
             40                                                                      n. -ao



                   where PsPF(t)=PRx(t)®hspF(t).

             45    AFE/ADC

                   Let the salllPiing clocl< be T 8 = T c x L. This means a slower sa!Tllling by a factor of L for AFE 81. Thus,

                                                       00
                                                                                                "'
             50
                                                     n. ·co                                   n ... co



                   For causal pulse PsPF (I}, we have
             55


                                                wk   =      E     ZnPsPF((kL -n)Tc) =                E   ZkL-nJ'BPF(nTc)
                                                         n. -co                                  n• 0




.... ,                                                                                   14
•1
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          Shortening RR (SFIR)

          After AFE discrete time sampling, a time domain equalizer (TEO) called SFIR 82 is used to reduce the combined dis-
          crete time ifll)ulse response t a duration smaller than c. It the SFIR response is hsFtRin], we have
    5


                                                          rk   =L
                                                                 -
                                                                 i-<1
                                                                        Wt-ihSFIR (i)



     10
                                                                ~[,.._
                                                               =.-o i. t,.p 1 ,,([kL-n-iLJTc)]hsFIR[i]
                                                                                              .
                                                               = !- z:,.h~«[kL-n]
     15
                                                                  -
                                                                ~~--
                                                               =..L-oz:lL_,h,.,,[n]
                             whete

                                                "'0
                                                                  ..
                                                      ,[kL-n] = LhmJllPsPF([kL-n-iL1Tc:)
                                                                 i-o
    20




          Physical Meaning of htot ( n]
    25
          If we perform discrete Fourier transform at block 84 for htot (n], we obtain H 10,[w]= H SFIR [Lw]H BPF [w] where HsFtR
          [Lo>] and HsPF (w] are the OFT's with period 1/(LTc)and 1/Tc, respectively. Their spectra can be illustrated as shown in
          Fig. 1F for L=5.

    30    Dropping Cyclic Prefix

          By dropping the cyclic prefix of length ell, at block 83 we consider only sit   =r~t,k=O,   • • • ,N 1 -1, where N 1 • NIL.

          FFT
    35
          Performing FFT at block 84 for s It• k=O, • • • ,(N/L)-1 , one obtains:



    40




    45




    50




    55




                                                                          15
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    5




    10




    t5




    20




    25   where we as5ume h1ot [1] is only nonzero for i "' 0, • • • ,c. For a given I , let us define




    30


         We can then define i'=I'L·i. where i'•O..... L ·1 . Therefore. i=I'L·i'
         From the above definitions, we have

    35




    40




    45




    50

         Therefore,


    55




                                                                      16
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   5




   10




    15




   . 20        Since

                                                   N 1 ·1              ·
                                                    E ef2r.(kL+i1(/·n)JN =0 when (I· n)., mN 1 •
                                                    k..O

       25

               we have


       3D                                        qn •
                                                            co·,
                                                           ~ ~
                                                        N 1J,.. L- XmN 1+n
                                                            r.o   -o
                                                                                      1 -
                                                                           ei2r.i'm!L h
                                                                                        tot
                                                                                            [i]e·J2r.nltN,




               . Kn~ing that h101 {i] is zero for i < 0 and i > c . we have
       35




        40




        45




         so      Since




          55




                                                                                17
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       5




       10




       15



            we have

       20




       25




       30




       35
-
"
                      where
                                           H,01 (nl=fH 101 (~n), forO~n<N
                                                       c     "'r
       40




            Relationship betWeen qn and xn
       45
                As shown in Fig. 1G ifR10ln] is a bandpass filter and nonzero only in the intervals [k(N/2L}, {k + 1){N/2L}] and [{2L·
            k·1)(N12L), (2L·k)(N/2L)], where 0 s: k < L, the possible values of m that

                                                                   H 101 (111(N I L) + n)
       50



            is nonzero foro s:   n < (NA.) are as follows.
       55   Even k

                If k is even, we can have m=k/2 and o~ n <(NI2L) so that




                                                                           18
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      5

           is nonzero CNer the interval [k(N12L), (k + 1)(N/2L)). and m=(L·1)·kl2 and (NI2L) :!> n <(NIL) so that


      10

           is nonzero over the interval [(2L·k·1)(N/2L), (2L·k)(N/2L)].

           Odd k
      15
               If k is odd, we can have m=(k·1)/2 and (N/2L) ~ n < (NIL) so that


                                                                 H,",(m(N/L)+ll]
     20

           is nonzero 011er the interval [k(NI2L), (k + 1)(N/2L)), and m=L-(1<·1)12 and 0 :!> n <(NI2L) so that


     25



            is nonzero CNer the interval [(2l·k·1)(NI2l), (2l·k)(N/2L)].
            The above discussion is illustrated in Fig. 1G for L .. 3.
      30         In another variation that can be used in the present invention. similar advantages to those obtained by limiting
            bandwidth in the received signal in the downstream transceiver can be obtained by also optionally limiting the upstream
            data rate of the transceiver as well. In other words, the AOSL standard provides for 31 channels in the upstream direc·
            tion, but many applications do not require this amount of bandwidth. The constraints. requirements and costs associ·
            ated with the DMT modulation signal processing, and DAC 330 also can be significantly reduced by transmitting only a
      35    sub-set of the available 31 sub-channels. The determination of the appropriate sub-channels would be accomplished
            In essentially the same manner as set forth abOIIe, except that the information on upstream sub-channel SNR usually
            must be determined by the upstream transceiver, and then fed back to the downstream transceiver. To save time and
            overhead complexity, and given the fact that there is less variation in bit capacity in sub-channels in this frequency band,
            one approach also would be to simply select a fixed sub-set of such sub-channels-without regard to their actual per·
     40     formance characteristics. In a software modem environment, ControVApplication software 500 would provide a user
           with selectable control to effectuate a restricted upstream transmission on limited s\b-channels. Again, with respect to
           the AOSL standard, the only requirement in this respect is that the upstream pilot tone must also be transmitted to
            establish a valid data link An optional limited "upstream" transmission can be effectuated in a variety of ways by the cir·
           cuitry already described above in connection with Figs. 2 and 3. The exact details of such implementation will be appar-
     45     ent to those of skill in the art given the present teachings.
                 Although the present invention has been described in terms of a preferred ADSL errbodiment. it will be apparent
           to those skilled in the art that many alterations and modifications may be made to such embodim~nts without departing
           from the teachings of the present invention. For example, it is apparent that the present Invention would be beneficial
           used in any xDSL or high speed multi-carrier application environment. Other types of VLSI and ULSI components
    . so   beyond those illustrated in the foregoing detailed descriptiOn can be used suitably with the present invention. Accord·
           ingly, it is intended that the all such alterations and modifications be included within the scope and spirit of the Invention
           as defined by the following claims.

           Claims
    ,65
           1. A high speed communications system capable of supporting a downstream data transmission from a upstream
              transceiver using a analog signal consisting of M data carrying signals contained within a bandwidth F. said system
              comprising:




                                                                        19
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                          a channel interface circuit for coupling to and receiving said analog signal; and
                          a front end receiving circuit for p!'ocessing the analog signal and converting it to a digital signal;
                          a processing circuit for extracting N data carrying signals (N <M) from the digital signal using a first frequency
                          portion f1 of the digital signal (f1 <F).
          5
                 2. The system of claim 1. wherein the N data carrying signals are selected by the processing circuit. based        s6 as to
                    minimize the amount of processing required to extract the selected data from the digital signal.

                 3.   The system of claim 2, wherein the N data carrying signals can be selected during a initialization process setting
          to          up a data link to the upstream transceiver.

                 4.   The system of claim 3, wherein M data carrying signals can be sent by the upstream transmitter during a initializa· .
                      tion process, and thereafter, only N data carrying signals are sent.                      ·

          rs     s.   The system of claim 1, wherein the front end circuit includes: (i) a sub·band filter for passing the first frequency
                      bandwidth portion f1 of said bandwidth F; QQ and an analog to digital converter.

                 6. The system of claim 1, wherein the selected data further includes data obtained from an additional second fre-
                    quency bandwidth portion f2 of said bandwidth F. so that an additional number of data carrying signals P from the
          20        M data carrying signals (N+P < M) can be processed.

                 7. The system of claim 6, further including one or more sub-band filters for passing the first frequency bardwidth por-
                    tion f1 and second frequency bandwidth portion f2 of said bandwidth F and an analog to digital converter. ·

          2s     8.   The system of claim 7, wherein a target data rate of the system can be increased by processing an additional
                      number of data carrying signals P from the M data carrying signals, where N+P <M.

                 9. The system of claim 1, wherein the selected data to be extracted from the bandpassed data can be controlled by a
                      user of such system.
          30 .
                 10•.The system of claim 9, wherein a user of such system can increase a target data rate of the system by modularly
                     augmenting the front end circuit to include additional bardwidth and analog to digital conversion capacity such that
                     an additional number of data carrying signals P from the M data carrying signals (N+P <M) can be processed.

          35     11. The system of claim 1, further including a front end transmitting circuit for transmitting C:ontrol information to cause
                     said upstream transceiver to transmit downstream data only using the N data carrying signals.

                 12. The system of claim 11, wherein the control information transmitted to the upstream transceiver indLdes feedback
                     information indicating that only N of the M data carrying signals are desirable for downstream data transmission,
          40         even during times when said channel is capable of supporting more than N data carrying signals.

                 13. The system of claim 12, wherein the control information transmitted to the upstream transCeiver further includes·
                     feedback information indicating that: (Q the system can support any data protoCols used by said upstream trans·
                     ceiver; and (iQ that they are connected through a channel with substantial signal attenuation characteristics for data
          45         signals other than the N data carrying signals.

                 14. The system of claim , , further including a front end transmitting circuit for transmitting an upstream data signal
                     using a second frequency banjwidth F2 different from F. and L data carrying signals. and where L < M.

          so     1s. A high speed communications system for processing an analog data signal from a channel capable of supporting
                     M modulated sub-channels, said system comprising:

                          a channel interface circuit for coupling to and receiving said analog data signal from the channel;

          55              a analog front end circuit fur processing the analog data signal and converting it to a digital signal;

..                        a processing circuit for extracting data from the digital signal, the digital signal including data taken from a ·
                          number N of said sub-channels, where N is intentionally selected to have a value less than M ard where N is



' 1
                                                                              20
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                    negotiated with an upstream transceiver during a initialization procedure.

           16. The system of claim 15, where theN slb·channels are initially loaded with bit capacities that are left essentially
               unchanged unless said channel characteristics vary.
     5
           17. The system of claim 15, wherein the selection of theN sub-channels can be done during the initialization proce-
               dure.

           18. The system of claim 15. wherein the value of N is based on signal processing capability of the pt'OCessing circuit.
     10
           19. The system of claim 15. wherein a. target data rate of the system can be increased by procesSing a additional
               number of sub-channels P from the M sub-channels, and where N+P <M.

           20. The system of claim 15 further including a front end transmitting circuit for transmitting eontrol information to cause
     .15       said upstream diver to transmit downstream data only using the N sub-channels.

           21. The system of claim 15, wherein the upstream transceiver uses discrete mul1i·tone {DMT) modulation for generat·
               ing the M modulated sub-channels, and the channel supports asymmetric digital subscriber loop (AOSL) transmis·
               sian standards.

           22. A high speed communications system tor processing an analog data Signal from a channel capable of supporting
               M modulated sub-channels, said system comprising:

                    a channel interface circuit for coupling to and receiving said analog data signal from the channel;
     25
                   an analog front end circuit for procesSing the analog data Signal and converting it to a digital signal:

                   a bus interface circuit for transmitting the digital signal to a host processing device, ancffor receiving a trans-
                   mission control signal from the host processing device to cause said upstream transmitter to transmit using
     30            only from a number N of said sub-channels, where N is intentionally selected to have a value less than M, and
                   where N is negotiated with a upstream transceiver during a initialization procedure.

           23. The system of claim 22, wherein the value of N is based on Signal processing capability of the host processing
               device.
     35.
           24. The system of claim 22, wherein a data rate of the system can be increased by processing an additional number
               of sub-channels P from the M sub-channels. and where N+P < M.

           25. The system of claim 22, wherein the upstream transceiver uses discrete multi-tone (OMT) modulation for generat·
     40        lng the M modulated sub-channels, and the channel supports asymmetric digital subscriber loop (AOSL) transmis·
               sion standards.

           26. A method of processing a xOSL signal from a digital subscriber loop, said method inclu:fing the steps of:

     45            negotiating a reduced data rate R' for said signal between a downstream and a upstream transceiver; and

                    thereafter transmitting said xOSL signal from the upstream transciever to the downstream transceiver utilizing
                  · a nurrber of sub-channels N to effectuate the reduced data rate R', where N is intentionally selected to be less
                    than a maximum number of sub-channels M supported by said digital subscriber loop;
     so             wherein the number of sub-channels N is based on signal procesSing capability available to the downstream
                    transceiver.

           27. The method of claim 26, wherein the data rate of the system can be increased by processing an additional number
               of sub-channels P from the M sub-channels, and where N+P <M.
     55
           28. The method of claim 26, wherein the upstream transceiver uses discrete multi-tone (DMT) modulation for generat·
               ing the M sub-channels.




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                29. The method of claim 26, wherein the reduced data rat R' can be specified by a user operating the downstream
                    transceiver.

                30. A high speed communications data receiver for communicating through a channel at a data rate X with a upstream
          5          transmitter capable of transmitting a data stream at a rate Y CX<Y), the receiver comprising:

                         a channel interface circuit for coupling to and receiving said data stream; and
                         an analog front end circuit for data SS"lJiing the analog signal and converting it to
                         a digital signal; and
          10             a processing circuit for extracting selected data from the digital signal, and for generating a transmission con-
                         trol signal for causing said upstream transmitter to transmit at a data rate substantially equal to said data rate
                         Xduring a data stream transmission; and
                         wherein data sampling requirements of the analog front end circuit and extracting of the processing circuit are
                         reduced because data sampling and extracting is only performed for a fractional portion of the data stream.
          15
                31. The system of claim 30, wherein the analog front end circuit further includeS one or more sub-band filters for fftter·
                    ing the analog data signal to generate the fractional portion of the data stream that requires data sampling and .
                    extracting.

          20    32. The system of claim 30, further including a front end transmitting circuit for transmitting the transmission control sig-
                    nal from the processing circuit to cause said upstream transceiver to transmit downstream data only at said data
                    rate X.

                33. The system of claim 32, wherein the control information transmitted to the upstteam transceiver includes feedback
         · 25       .infOrmation iOdicating that the maximum downstream data transmission data rate is X, even during times when said
                     channel is capable of supPorting more than said data rate X.

                34. The system of claim 30, further including a front end transmitting circuit for transmitting an upstream data transmls·
                    sion using a data rate Z, where Z < Y.
          30
                35. The system of claim 30, wherein the ratio of X to Y is approximately .5 or less, and this ratio can be increased
                    through modular additions to the analog front end circuit.

                36. A high speed communications data receiver for communicating through a channel with an upstream transmitter that
          35        is capable of transmitting a data signal with a particular frame rate T and data rate Y. the receiver comprising:

                         a channel interlace circuit for coupling to and receMng said data signal; and
                         an analog front end circuit for sampling the data signal and converting it to a digital signal; and
                         a processing circuit that: (Q is configurable for processing the digital signal at a data mte <=X and using said
          40           . frame rate T. where X is determined for such processing circuit prior to initialization of a data transmission and
                         X< Y/2; ~Q generates a transmission control signal for causing said upstream transmitter to transmit at a data
                         rate no greater than X during a data transmission;
                         wherein signal processing requirements for the processing Circuit are reduced because processing is only per·
                         formed at a fractional rate of the available data rate of said transmission protocol.
          45
                37. The system of claim 36, wherein the control information transmitted to the upstream transceiver includes feedback
                    Information indicating that the maximum downstream data transmission data rate is X, even during times when said
                    channel is capable of supporting more than said data rate X.

          5o    38. The system of claim 36. wherein the feedback information Including the data rate X can be controlled by a user of
                    such system.                         ·

                39. The system of claim 36, wherein the ratio of X to Y is approximately .2 or less.

          55    40. A high speed communications system for transmitting digital information in a channel capable of supporting a trans·
r~
' I                 mission bandwidth F. said system comprising:

                        an upstream data transceiver capable of modulating the digital information to generate an analog data signar




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                  data transmission using said transmission bandwidth F; and
                  a downstream data transceiver channel interface circuit for coupling to and receiving said analog data signal
                  from the upstream data transciever through said channel, the downstream data transceiver including:

     5                 {i) a front end receiving circuit for processing the analog data signal and converting it to a digital'signal; and
                       (iij a processing circuit for demodulating the digital signal, the digital signal including data from a first fre-
                       quency bandwidth portion f1 of said bandwidth and for generating feedback information indicating to the
                       upstream transceiver that the bandwidth other than f1 is unsuitable for data transmission: and
                       (iiQ a front end transmitting circuit for transmitting the feedback information using a second frequency
     10                bandwidth portion f2 to cause said upstream transceiver to transmit downstream data only using the first
                       frequency portion f1.

          41. The system of daim 40, wherein the ratio of f1 to F is approximately .5 or less, and this ratio can be increased
              through modular additions to the front end receiving circuit.                    ,
     15
          42. The system of claim 40, wherein the feedback information contains intentionally altered channel ,characteristic
              information.

          43. The system of claim 41, wherein the feedback information, including ttie size and location of first frequency portion
     20       f1, can be controlled by a user of such system.

          44. A high speed communications data receiver for communicating through a channel at a controllable data rate X with
              an upstream transmitter capable of transmitting a data signal at a flame rate T, and a data rate Y. where XN < 112. ,
              the receiver OQI11lri~ing:
     25
                  a channel interface circuit for coupling to and receiving said analog data signal; and
                  an analog front end circuit for data sampling the analog signal and converting it to a digital signal; and
                  a processing circuit for determining said rate X based on processing capabilities available for extracting data
                  from the digital signal, and for generating a transmission control signal for causing said upstream transmitter
     so           to transmit using said flame rate T, and a data rate substantially equal to said data rate X during a data trans-
                  mission.

          45. The receiver of claim 44, wherein said rate X is determined during a calibration routine.

     35   46. The receiver of claim 45, wherein said calibration routine is executed by a host data processor to determine the
              capabilities of such processor.

          47. The receiver of claim 44, wherein said rate X is configurable by a user of such receiver based on performance char-
              acteristics of a host processor comprising a portion of the processing circuit.
     40
          48. The receiver of claim 44, wherein XN is approximately .5 or less.

          49. A method for communicating through a channel with an upstream transmitter that is capable of transmitting a data
              signal at a frame rate T. and a data rate Y. the method comprising the steps of:
     45
                  receiving said data signal; and
                  sampling the data signal and converting it to a digital signal; and
                  processing the digital signal at a data rate <=X and using said frame rate T, where X is determined prior to ini·
                  tialization of a data transmission and X < Y/2; and
     so           generating a transmission control signal for causing said upstream transmitter to transmit at a data rate no
                  greater than X during a data transmission.

          50. The method of claim 49, wherein the control information transmitted to the upstream transceiver includes feedback
              information indicating that the maximum downstream data transmission data rate is X, even during times when said
    55        channel is capable of supporting more than said data rate X.

          51. The method of claim 49, wherein the feedback information including the data rate X can be controlled by a user of
              such system.




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           52. The method of claim 49. wherein said rate X is determined during a calibration routine.

           53. The method of claim 49, wherein said rate X is configurable by a user of such receiver based on performance char·
               acteristics of a host processor cofll)rising a portion of the processing circuit.
    5
           54. A method of operating a high speed communications system that is coupled through a channel to an upstream
               transceiver operating at a maximum data rate Y using a bandwidth F. said method comprising:

                    (a) receiving an analog initialization signal having a bandwidth F from the upstream transceiver through the
    ro              channel; and
                    (b) generating a digital signal based on sampling a portion of the analog data transmission signal correspond·
                    ing to a first frequency bandwidth portion f1, where f1 <F; and
                    (c) proo"essing the digital signal to extract data from the digital signal such that an effective receiving rate X.
                    (where X<Y) is achieved by the system;
    rs              (d) generating feedback information pertaining to the channel transmission characteristics indicating to the
                    upstream transceiver that data rates higher than X should not be used;
                    (e) thereafter recieving an analog data signal transmitted by the upstream transceiver to have a bandwidth f1;
                    (f) repeating steps (b) and (c).

    20     55. The method of claim 54. further including a step prior to step (a): receiving a control signal from a user of such sys·
               tem for determining the effective receiving rate X.

           56. The method of claim 54, further including a step: determining an optimal bandwidth portion f1 so as to minimize the
               amount of processing required to extract the data from the digital signal at the receiving rate X.

           57. A high speed communications transceiver for communicating with an upstream transceiver transmitting an analog
               data transmission signal using M data carrying signals within a bandwidth F through a channel to said system, said
               transceiver comprising:

    30              a channel interface circuit for coupling to and receiving said analog data signal from the channel; and
                    a frontend  receiving circuit for sampling the analog data signal and generating a digital signal based on such
                    analog data signal, the digital signal including data from a first frequency bandwidth portion f1 of said band·
                    width. F containing N data carrying signals, where N<M: and
                    a bus interface circuit for transmitting the digital signal to a host processing device: and
    35              wherein the system's performance, including data rate, can be scaled based on modifications to said front end
                    receiving circuit or said host prcx:essing device so that a the sampling of the analog data signal can be
                    increased, and the first frequency bandwidth portion f1 can also be expanded.

          58. The system of claim 57, wherein the front end receiving circuit includes a filter for passing the first frequency band·
    4C        width portion f1 of said bandwidth F; (ii) and an analog to digital converter.

          59. The system of claim 58, wherein when the modifications include additional bandpass filters for increasing the first
              frequency bandwith portion from f1 to f2, where F > f2 > f1, the number of data carrying signals is increased from
                                   =
              N to N+P, where P f2/WN, and N+P< M.
    45
          60. The system of claim 57, wherein the modffications include adding an additional number of front end circuits kin the
              system each with a bandpass frequency f1 to result in N•k data carrying signals beinl) included within the digital
              signal.

    so    61. The system of claim 57, wherein the first frequency bandwidth portion f1 is programmable.

         . 62. The system of claim 57, further including a front end transmitting circuit for transmitting control information to cause
               said upstream transceiver to transmit downstream data only using the N data carrying signals.

    55    63. The system of claim 62, wherein the control information transmitted to the upstream transceiver includes .feedback
              information from the host processing device indicating to the upstream transceiver that only N of the M data carry·
              ing signals are desirable for downstream data transmission. even if said channel is capable of supporting more than
              N data carrying signals.




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          64. The system of claim 63, wherein the front end transmitting circuit tra11smitS an upstream data transmission using a
              second frequency bandwidth F2 and L upstream data carrying signals, and where L < M.

          65. The system of claim 57, further including a host processor circuit in the host processing device for extracting
     5        selected data from the N data carrying signals.

          66. The system of claim 65, wherein host processor circuit includes a host microprocessor. a programmable memory
              coupled to the microprocessor, and a data extraction routine located in the memory which can be executed by the
              microprocessor.
     10
          67. The system of claim 66, wherein the modifiCations include upgrading said host processing circuit to include addi-
              tional signal processing power for processing an additional number of data carrying signals.

          68. A method of operating a high speed interface between an upstream transceiver arid a host processing device at a
     15       target data rate, said method comprising:

                   (a) receiving an analog initialization signal having a bandwidth F from the upstream transceiver through a com-
                   munications channel: and
                   (b) generating a digital signal based on sampling a portion of the analog initialization signal corresponding to
    20             a first frequency bandpass portion f1 ;
                   (c) transmitting the digital signal to said host processing device so that characteristics of data cariying signals
                   contained within first frequency bandpass portion f1 can be determined, and a number of such data carrying
                   signals can be contigured for use by said host processing device to achieve said target data rate; and
                   (e) generating feedback information indicating to the upstream transceiver that bandwidth other than the f~rst
    25             frequency bandpass f1 should not be used for data transmission: and
                   (f) receiving an analog data transmission signal halling a bandwidth f1 from said upstream transceiver; and
                   (g) generating a digital signal based on sa!l1'1ing the analog data transmission signal; and
                   (h) transmitting the digital signal to the host processing device so that it can be processed to extract selected
                   data from the data carrying signals:                                              ·
    so             (i) when a data rate increase Is required, expanding the first frequency bandpass portion f1 and returning to
                   step (a).

          69. · The method of claim 68. further including a step of: determining an optimal size and location ·of first frequency
               bandpass portion f1 so as to minimize the amount of processing required by said host processing device to extract
    ss          the data from the digital signal.

          70. The method of claim 68, wherein the ratio of f1 to F is approximately .5 or less, and a data rate of such interface is
              controlled by controlling this ratio.

    40    71. The method of claim 68 wherein the analog data transmission is co!l1'rised of M modulated sub-channels within
              bandwidth F. and the selected data is contained in N of the M sub-channels within first selected frequency barid-
              pass portion f1, where N < M.

          72. The method of claim 68, further including a step: determining an optimal set of N sub-channels so as to minimize
    45        the amount of processing required to extract the data from the digital signal.

          73. The method of claim 68, further including a step wherein protocol information pertaining to standards applicable to
              Asymmetric Digital Subscriber loops is transmitted by the upstream data transceiver so as to set up a ADSL com-
              patible data link.
    50
          74. The method of claim 68, wherein during step 0) the first frequency bandpass portion f1 is increased by the use of
              additional bandpass filters for increasing the first frequency bandwith portion from f1 to f2, where F > f2 > f1, so that
              the selected data is received at an increased rate equal to approximately f2/f1.

    55




                                                                      25
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                                          FIGURE 1

                                                      Channell
                                                       Carrier Frequency   =4.3125•/
         ADSL FDM Spectrum
                             Upstream           Downstream
                             Pilot Tone         Pilot Tone




             0 3 26 69 138 178            276                         1100                 kHz
             0   6 16 32 41                64                          255




                                       FIGURE IB
                                  80                  81
                                  (                   (

               Analo g                                               Sampled
               Input             SUB
                                                     ADC             Output
                                BAND
                               FIL TEA

                                                      t
                                                       I


                                                                               Frequency




                                                26
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                              FIGUREJC




                              SUB-CHANNEL # ---+ 25 6
                                    f __.




                              FIGUREJD_
                                             70          75

           Xn.                   Yn            Zn             Z(t)
                                                                      To the
                       IFFT                          AFE
                                                                     Channel
       From QAM
                                       Add
                         60           Cyclic
                                      Prefix




                                             27
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                                     FIGURE JE
                                                                               84
                 From ihe                                       83         ~....._---.To    QAM.
         Z(t)
                            BPF   V(t)   AFE                         Sn      FFT       Qn


                100          80           81           82
                                                            Drop Cyclic
                                                               Prefix .



                                    FIGURE IF


                                                                          One Period




                                               28
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                                 FIGURE JG




                                      N                         N/L




                                                      r{n} ..
                                                      ..
          H 101 [n]       k=1




          H   101   {nl   k=2                          q[n]




                                          29
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                                  .FJGURE2                  /200

                                              240     250



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                                                                and
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                                                              . lnlerface




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                                    FIGURE3A                     300

                                                             /
                                      330        340   350


                100
            ICha~nel 1-~~--tol~
                       To/From
                                                                    Bus
                        Central
                        Office                                   Interface




                      300         FIGURE3B
                        ~




                 To Analog
          311     Phone/
                  Modem




                                            31
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                                                 FIGURE 4 .                        480
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           1                                                     MS NT Kernel                                                                       l
           i      f                                                                                                                                 i
                                        Open                               Send ·                                           Receive
           1                           ·Device                             Contrloi/Data                                    Control/Data            I
           L__-···-·-···---···· ~.:--==--===:::::::::: r.=.:::::=:::::::.-::::::::.::::::::::::--.:::::: ~:.:-...:_:::::..":;::---,
           .--                                                                                                                 _J
               ·---··----···
           ~                                                                                                                       !
           ;                                                                                                                                        i
          .!                     Device
                              Initialization
                                                :.-440             Serial Port
                                                                    1/F, Tx
                                                                                     1--4 75                      Serial Port
                                                                                                                      1/F, Rx
                                                                                                                                       ..-470
                                                                                                                                                    I
                                                                                                                                                    I
                                                                                                                                                    i
                                                       ...-425                                                                                      !400
                                                  Dialing/Tone
                                                     Control                                                                                      tYi



                                                           . r-455
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                                                                                                                                                    l
           :                                       I      Framing
                                                                                                    r           OEMUX                   465
                                                                                                                                                    ;
                                                                                                                                                    i



           i                                                       r-450                           r-415                     i     r-460            !!
                                                                                                                                                    i
                                                          DMT Tx                                                             OMT Rx
                                                                                           ISA                                                      i
                                                           ~ore                                                               Core                  i

                ice Driver
                                                                                                                                                    ii
                                                                                                   r-410                                         I
                 I                                               Bus Interface
                                                                                                                                               I I
                - -......--
                   ......    .. ·-----~-·--.--------···~-
                                                                             ............. ______ .... _______ ,. ____..   ____    .........
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                                                                                                                                               ·-·--·
                                                                                                 ,-396

                                                                                                  Modem Card.
·-




                                                                        32
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                                        Present Recommended ·                   525
                                        Operational Parameters


                                                                                         590
                                                                                      End Modem
                                                                                        Setup


                                                     no
                                                               530

                                        . Manual Configuration ·



                                                               540
                                             Verify Manual
                                           · .Configuration

                                        (no pass)                          I
                                                              550          I
                I
                I             .
                • update (pass)__ ,_.                                ____ J·I
                L----·--·,__.             Alert USER Suggest
                                              Modification




                                                33
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                                            FIGURE6

                                                                 695




          To/From                                               Control
          Central                                              and
          Office                                               Application
                                                               Interface
                                                               ADC


                    610

               To Analog
               Phone/Modem

                                 Ring
                                Detect
                                 and .
                             Tone Dialing
                                Logic




                                                 34
